MANDATORY FORM PLAN (Revised 01/22/2018)

                                                                     UNITED STATES BANKRUPTCY COURT
                                                                        SOUTHERN DISTRICT OF OHIO

 In re                                                                                )       Case No. 19-56108
 Lynn R Miner                                                                         )
                                                                                      )       Chapter 13
                                           Debtor(s)                                  )       Judge John E. Hoffman Jr.

                                                                            CHAPTER 13 PLAN

1. NOTICES
 The Debtor has filed a case under chapter 13 of the Bankruptcy Code. A notice of the case (Official Form 309I) will be sent
 separately.

 This is the Mandatory Form Chapter 13 Plan adopted in this District. Local Bankruptcy Rule (“LBR”) 3015-1. “Debtor” means
 either a single debtor or joint debtors as applicable. “Trustee” means Chapter 13 Trustee. Section “§” numbers refer to sections of
 Title 11 of the United States Bankruptcy Code. “Rule” refers to the Federal Rules of Bankruptcy Procedure.
 Unless otherwise checked below, the Debtor is eligible for a discharge under § 1328(f).
               Debtor        is not eligible for a discharge.
               Joint Debtor        is not eligible for a discharge.
     Initial Plan.
     Amended Plan. The filing of this Amended Plan shall supersede any previously filed Plan or Amended Plan and
 must be served on the Trustee, the United States trustee and all adversely affected parties. If the Amended Plan
 adversely affects any party, the Amended Plan shall be accompanied by the twenty-one (21) day notice. Rule 2002(a)(9). Any
 changes (additions or deletions) from the previously filed Plan or Amended Plan must be clearly reflected
 in bold, italics, strike-through or otherwise in the Amended Plan filed with the Court. LBR 3015-2(a)(1).
 If an item is not checked, the provision will be ineffective if set out later in the Plan.
     This Plan contains nonstandard provisions in Paragraph 13.
     The Debtor proposes to limit the amount of a secured claim based on the value of the collateral securing the claim. See
 Paragraph(s) 5.1.2 and/or 5.1.4.
     The Debtor proposes to eliminate or avoid a security interest or lien. See Paragraph(s) 5.4.1, 5.4.2 and 5.4.3.

 NOTICE TO CREDITORS: You should read this Plan carefully, including Paragraph 13 (Nonstandard Provisions), and
 discuss it with your attorney if you have one in this bankruptcy case. If you do not have an attorney, you may wish to consult
 one. Except as otherwise specifically provided, upon confirmation, you will be bound by the terms of this Plan. Your claim
 may be reduced, modified, or eliminated. The Court may confirm this Plan if no timely objection to confirmation is filed.


2. PLAN PAYMENT AND LENGTH

2.1 Plan Payment. The Debtor shall pay to the Trustee the amount of $ 1,520.00 per month. [Enter step payments below, if any.]
The Debtor shall commence payments within thirty (30) days of the petition date.

2.1.1 Step Payments, if any:

2.2 Unsecured Percentage.

  Percentage Plan. Subject to Paragraph 2.3, this Plan will not complete earlier than the payment of                      7.66   % on each allowed
nonpriority unsecured claim.

   Pot Plan. Subject to Paragraph 2.3, the total amount to be paid by the Debtor to the Trustee is
$     . Assuming all claims are filed as scheduled or estimated by the Debtor, payment on each
allowed nonpriority unsecured claim is estimated to be no less than       %. LBR 3015-1(c)(2).

2.3 Means Test Determination.



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  Below Median Income. Unless the allowed nonpriority unsecured claims are paid 100%, the projected length of the Plan must be a
minimum of thirty-six (36) months but not to exceed sixty (60) months.

   Above Median Income. Unless the allowed nonpriority unsecured claims are paid 100%, projected length of the Plan must be
sixty (60) months.

3. PRE-CONFIRMATION LEASE PAYMENTS AND ADEQUATE PROTECTION PAYMENTS
Pre-confirmation personal property lease payments governed by § 1326(a)(1)(B) shall be made as part of the total plan payment to the
Trustee. LBR 3070-1(a). Pre-confirmation adequate protection payments governed by § 1326(a)(1)(C) shall be made as part of the
total plan payment to the Trustee. LBR 3070- 1(b). The lessor/secured creditor must file a proof of claim to receive payment. LBR
3070-1(a) and (b).
 Name of Lessor/Secured Creditor            Property Description                           Monthly Payment Amount
 Capital One Auto Finance                                            2017 Jeep Wrangler                193.00

4. SECURED CLAIMS: TIMING REQUIREMENTS; SERVICE REQUIREMENTS
4.1    Non-Government Unit Secured Claims. The Debtor may propose to limit the amount of a secured claim based on the value of
       the collateral securing the claim by the procedure proposed in Paragraphs 5.1.2 and 5.1.4. Further, the Debtor may propose to
       eliminate or avoid a security interest or lien by the procedure proposed in Paragraphs 5.4.1, 5.4.2 and 5.4.3. If the Debtor
       proposes to seek any of the above-stated relief by way of motion or claim objection, the motion or claim objection must be
       filed on or before the § 341 meeting of creditors or the confirmation hearing may be delayed. If a judicial lien or
       nonpossessory, nonpurchase-money security interest is discovered after confirmation of the Plan, a motion to avoid the
       judicial lien or security interest may be promptly filed after it is discovered.

4.2          Governmental Unit Secured Claims. A request to determine the amount of the secured claim of a governmental unit or to
             modify and eliminate the secured claim of a governmental unit may be made only by motion or claim objection. Rule
             3012(c). Any motion or claim objection that includes a request to determine the amount of the secured claim of a
             governmental unit (including any such motion or claim objection that also includes a request to determine the amount of the
             secured claim of a non-governmental entity) may be filed only after the governmental unit files a proof of claim or after the
             time for filing one has expired. Rule 3012, advisory committee note (2017 Amendments).

4.3          Service Requirements. If the Debtor proposes to seek relief under Paragraphs 5.1.2, 5.1.4, 5.4.1, 5.4.2, or 5.4.3, the motion,
             Plan or claim objection, as applicable, must be served in the manner provided by Rule 7004 for service of a summons and
             complaint. Rule 3007(a)(2), Rule 3012(b), Rule 4003(d) and General Order 22-2.

4.4          Retention of Lien. The holder of any claim listed in Paragraphs 5.1.2, 5.1.4 and 5.4.1 will retain its lien on the property
             interest of the Debtor or the Debtor's estate until the earlier of --(a) payment of the underlying debt determined under
             nonbankruptcy law, (b) discharge of the underlying debt under 11 U.S.C. § 1328, or (c) completion of the Plan --at which
             time the lien will terminate and be released by the creditor

5. PAYMENTS TO CREDITORS
                                                                     SUMMARY OF PAYMENTS BY CLASS
 Class                                                               Definition                        Payment/Distribution by Trustee
 Class 1                                                             Claims with Designated Specific   Paid first in the monthly payment
                                                                     Monthly Payments                  amount designated in the Plan
 Class 2                                                             Secured Claims with No            Paid second and pro rata with other
                                                                     Designated Specific Monthly       Class 2 claims.
                                                                     Payments and Domestic Support
                                                                     Obligations (Arrearages)
 Class 3                                                             Priority Claims                   Paid third and pro rata with other
                                                                                                       Class 3 claims.
 Class 4                                                             Nonpriority Unsecured Claims      Paid fourth and pro rata with other
                                                                                                       Class 4 claims.
 Class 5                                                             Claims Paid by a Non-Filing Co-   Not applicable
                                                                     Debtor or Third Party
 Class 6                                                             Claims Paid by the Debtor         Not applicable




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Except as provided in Paragraph 3, the Trustee shall begin making distributions upon confirmation. To the extent funds are available,
the maximum number of Classes may receive distributions concurrently. Notwithstanding the above, the Trustee is authorized within
the Trustee’s discretion to calculate the amount and timing of distributions as is administratively efficient.

5.1 CLASS 1 - CLAIMS WITH DESIGNATED SPECIFIC MONTHLY PAYMENTS
The following Class 1 claims shall be paid first in the monthly payment amount designated below. The plan payment is calculated in
an amount that is sufficient for the Trustee to make a full monthly distribution on all Class 1 claims plus the statutory Trustee fee. If
the Debtor makes a payment that is less than the full plan payment amount, the Trustee will make distributions on Class 1 claims in
the order of priority set forth in the Bankruptcy Code.

5.1.1 Maintenance of Regular Mortgage Payments
Regular mortgage payments shall be calculated for payment starting the month after the filing of the
petition. Arrearages shall be paid as Class 2 claims.

Trustee disburse.
Name of Creditor                                    Property Address               Residence (Y/N)       Monthly Payment Amount
 Wells Fargo Home Mor                               355 McKell Chillicothe, OH     Y                     617.78
                                                    45601 Ross County

Debtor direct pay. Unless otherwise ordered by the Court, regular monthly mortgage payments may only
be paid directly by the Debtor if the mortgage is current as of the petition date. LBR 3015-1(e)(1).
 Name of Creditor                   Property Address                  Residence (Y/N)                Monthly Payment Amount
 None

5.1.2 Modified Mortgages or Liens Secured by Real Property [“Cramdown/Real Property”]
The following claims are subject to modification as (1) claims secured by real property that is not the Debtor’s principal residence, (2)
claims secured by other assets in addition to the Debtor’s principal residence, or (3) claims for which the last payment on the original
payment schedule for a claim secured only by a security interest in real property that is the Debtor’s principal residence is due before
the date on which the final payment under the plan is due. 11 U.S.C. §§ 1322(b)(2), (c)(2). To the extent that a claim is in excess of the
value of the property, the balance in excess of the value of the property shall be treated as a Class 4 nonpriority unsecured claim. See
Paragraph 4 for more information.
 Name of                       Property Address                Value of Property                 Interest Rate Minimum Monthly
 Creditor/Procedure                                                                                             Payment
 None
     Motion
     Plan
     Claim Objection

5.1.3 Claims Secured by Personal Property for Which § 506 Determination is Not Applicable [“910 Claims/Personal
Property”]
The following claims are secured by a purchase money security interest in either (1) a motor vehicle acquired for the Debtor’s
personal use within 910 days of the petition date or (2) personal property acquired within one year of the petition date. The proof of
claim amount will control, subject to the claims objection process.
 Name of Creditor      Property Description           Purchase Date       Estimated Claim         Interest Rate Minimum Monthly
                                                                          Amount                                   Payment Including
                                                                                                                   Interest
 Capital One Auto      PMSI Loan 2017 Jeep            9/15/2017           $19,308.00              6.00%            $193.00
 Finance                           Wrangler

5.1.4 Claims Secured by Personal Property for Which § 506 Determination is Applicable [“Cramdown/Personal Property”]
The following claims are secured by personal property not described above in Paragraph 5.1.3. To the extent that a claim is in excess
of the value of the property, the balance in excess of the value of the property shall be treated as a Class 4 nonpriority unsecured
claim. See Paragraph 4 for more information.
 Name of                    Property Description        Purchase/            Value of Property       Interest Rate Minimum Monthly
 Creditor/Procedure                                     Transaction Date                                             Payment Including
                                                                                                                     Interest



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Name of            Property Description Purchase/                                  Value of Property    Interest Rate   Minimum Monthly
Creditor/Procedure                      Transaction Date                                                                Payment Including
                                                                                                                        Interest
 -NONE-                                                                            $                    %               $
  Motion
  Plan
  Claim Objection

5.1.5 Domestic Support Obligations (On-Going) - Priority Claims under § 507(a)(1)
If neither box is checked, then presumed to be none.
    Trustee disburse
    Debtor direct pay

The name of any holder of any domestic support obligation as defined in § 101(14A) shall be listed below. If the Debtor becomes
subject to a domestic support obligation during the Plan term, the Debtor shall notify his or her attorney and the Trustee.
 Name of Holder                               State Child Support Enforcement Agency, Monthly Payment Amount
                                              if any
 -NONE-                                                                                            $

5.1.6 Executory Contracts and Unexpired Leases

The Debtor rejects the following executory contracts and unexpired leases.
       Notice to Creditor of Deadline to File Claim for Rejection Damages: A proof of claim for rejection damages must be filed
       by the creditor within seventy (70) days from the date of confirmation of the Plan. Rule 3002(c)(4). Such claim shall be
       treated as a Class 4 nonpriority unsecured claim.

 Name of Creditor                                                           Property Description
 -NONE-

The Debtor assumes the following executory contracts and unexpired leases. Unless otherwise ordered by the Court, all motor
vehicle lease payments shall be made by the Trustee. LBR 3015-1(d)(2). Any prepetition arrearage shall be cured in monthly
payments prior to the expiration of the executory contract and unexpired lease. The Debtor may not incur debt to exercise an option to
purchase without obtaining Trustee or Court approval. LBR 4001-3.

Trustee disburse.
Name of Creditor                   Property Description Regular Number of   Monthly                Estimated Arrearage Contract/Lease
                                                        Payments            Contract/Lease         as of Petition Date Termination Date
                                                        Remaining as of     Payment
                                                        Petition Date
 -NONE-                                                                     $                      $

Debtor direct pay.
Name of Creditor                   Property Description Regular Number of   Monthly                Estimated Arrearage Contract/Lease
                                                        Payments            Contract/Lease         as of Petition Date Termination Date
                                                        Remaining as of     Payment
                                                        Petition Date
 -NONE-                                                                     $                      $

5.1.7 Administrative Claims
The following claims are administrative claims. Unless otherwise ordered by the Court, requests for additional attorney fees beyond
those set forth below will be paid after the attorney fees set forth below and in the same monthly amount as set forth below. LBR
2016-1(b).
 Name of Claimant                  Total Claim                          Amount to be Disbursed by     Minimum Monthly Payment
                                                                        Trustee                       Amount
 Karrie Mae Southern 0090717                        3,700.00                3,700.00                         350.00

5.2 CLASS 2 - SECURED CLAIMS WITH NO DESIGNATED MONTHLY PAYMENTS AND DOMESTIC SUPPORT
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OBLIGATIONS (ARREARAGES)

5.2.1 Secured Claims with No Designated Monthly Payments
The following claims are secured claims with no designated monthly payments, including mortgage arrearages,
certificates of judgment and tax liens. The proof of claim amount shall control, subject to the claims objection
process. Class 2 claims shall be paid second and shall be paid pro rata with other Class 2 claims.
 Name of Creditor                                                    Estimated Amount of Claim
 Wells Fargo Home Mor                                                                 $3,208.66

5.2.2 Domestic Support Obligations (Arrearages) - Priority Claims under § 507(a)(1)
   Trustee disburse
   Debtor direct pay
The name of any holder of any domestic support obligation arrearage claim or claim assigned to or owed to a governmental unit and
the estimated arrearage amount shall be listed below.
 Name of Holder                               State Child Support Enforcement Agency, Estimated Arrearage
                                              if any
 -NONE-                                                                                                                                   $

5.3 CLASS 3 - PRIORITY CLAIMS
Unless otherwise provided for in § 1322(a), or the holder agrees to a different treatment, all priority claims
under § 507(a) shall be paid in full in deferred cash payments. § 1322(a). Class 3 claims shall be paid third
and shall be paid pro rata with other Class 3 claims.

5.4 CLASS 4 - NONPRIORITY UNSECURED CLAIMS
Allowed nonpriority unsecured claims shall be paid a dividend as provided in Paragraph 2.2. Class 4 claims
shall be paid fourth and shall be paid pro rata with other nonpriority Class 4 claims.

5.4.1 Wholly Unsecured Mortgages/Liens
The following mortgages/liens are wholly unsecured and may be modified and eliminated. See In re Lane, 280 F.3d 663 (6th Cir.
2002). See Paragraph 4 for additional information. Preferred form motions and orders are available on the Court’s website at
www.ohsb.uscourts.gov.
           Name of Creditor/Procedure                    Property Address

 -NONE-          Motion
                 Plan
                 Value of Property                           SENIOR Mortgages/Liens                   Amount of Wholly Unsecured
                                                             (Amount/Lienholder)                      Mortgage/Lien
                 $                                                                                    $

5.4.2 Judicial Liens Impairing an Exemption in Real Property
The following judicial liens impair the Debtor’s exemption in real property and may be avoided under § 522(f)(1)(A). See Paragraph 4
for additional information. Preferred form motions and orders are available on the Court’s website at www.ohsb.uscourts.gov.
            Name of                    Property Address                       Value of Property           Exemption
            Creditor/Procedure
 -NONE- Motion                                                                $                          $
            Plan                                                              Debtor's Interest          Statutory Basis
                                                                              $
                           OTHER Liens or Mortgages                              Judicial Lien         Amount of Judicial Lien to be
                           (Amount/Lienholder Name)                                                    Avoided
                                                                        $                              $
                                                                        Recorded Date                  Effective Upon:

5.4.3 Nonpossessory, Nonpurchase-Money Security Interest in Exempt Property
The following nonpossessory, nonpurchase-money security interests impair the Debtor’s exemption in personal property and may be
avoided under § 522(f)(1)(B). See Paragraph 4 for additional information. Preferred form motions and orders are available on the
Court’s website at www.ohsb.uscourts.gov.

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Name of            Property Description Value of Property                          Exemption             Amount of Security Interest to
Creditor/Procedure                                                                                       be Avoided
Lendmark Financial Non-PMSI Misc        $800.00                                $800.00                   $3,487.00
 Services                            Household Goods
                                     and Furnishings                           Statutory Basis           Effective Upon: Completion of
     Motion                          consisting of TV                          Ohio Rev. Code Ann. §     Plan and Discharge
     Plan                            and push mower.
                                                                               2329.66(A)(4)(a)

5.4.4 Mortgages to be Avoided Under 11 U.S.C. § 544
The following debts secured by a mortgage will be paid as unsecured claims concurrent with other Class 4 claims. The Debtor or the
Trustee shall file an adversary proceeding to determine whether the mortgage may be avoided. To the extent that the Trustee has
standing to bring such action, standing is hereby assigned to the Debtor, provided a colorable claim exists that would benefit the
estate.
 Name of Creditor                              Action to be Filed By                       Address of Property
 -NONE-                                        Debtor
                                               Trustee

5.5 CLASS 5 - CLAIMS PAID BY A NON-FILING CO-DEBTOR OR THIRD PARTY
The following claims shall not be paid by the Trustee or the Debtor but shall be paid by a non-filing co-debtor or third party.
 Name of Creditor                                                   Name of Payor
 -NONE-

5.6 CLASS 6 - CLAIMS PAID DIRECTLY BY THE DEBTOR
The following claims shall not be paid by the Trustee but shall be paid directly by the Debtor.
 Name of Creditor                                                    Monthly Payment Amount
 -NONE-

6. SURRENDER OF PROPERTY
The Debtor elects to surrender to the creditor the following property that is collateral for the creditor’s claim. Upon confirmation of
the Plan, the stay under § 362(a) and, if applicable, § 1301(a) shall be terminated as to the surrendered property only. Rule 3015(g)(2).
 Name of Creditor                                                      Description of Property
 -NONE-

7. INTEREST RATE
Unless otherwise stipulated by the parties, ordered by the Court or provided for in this Plan and except for claims treated in paragraph
5.1.1, secured claims shall be paid interest at the annual percentage rate of 6.0 % based upon a declining monthly balance on the
amount of the allowed secured claim. Interest is included in the monthly payment amount. See Till v. SCS Credit Corp. (In re Till),
541 U.S. 465 (2004).
    This is a solvent estate. Unless otherwise provided, all nonpriority unsecured claims shall be paid in full with interest at     %
          from the date of confirmation. If this box is not checked, the estate is presumed to be insolvent.

8. FEDERAL INCOME TAX RETURNS AND REFUNDS
8.1 Federal Income Tax Returns
If requested by the Trustee, the Debtor shall provide the Trustee with a copy of each federal income tax return filed during the Plan
term by April 30 of each year.

8.2 Federal Income Tax Refunds
Notwithstanding single/joint tax filing status, the Debtor may annually retain the greater of (1) any earned income tax credit and
additional child tax credit or (2) $3,000 of any federal income tax refund for maintenance and support pursuant to § 1325(b)(2) and
shall turnover any balance in excess of such amount to the Trustee. Unless otherwise ordered by the Court, tax refunds turned over to
the Trustee shall be distributed by the Trustee for the benefit of creditors. Any motion to retain a tax refund in excess of the amount set
forth above shall be filed and served pursuant to LBR 9013-3(b).

9. OTHER DUTIES OF THE DEBTOR
9.1 Change of Address, Employment, Marital Status, or Child or Spousal Support Payments
The Debtor shall fully and timely disclose to the Trustee and file any appropriate notice, application or motion with the Court in the
event of any change of the Debtor’s address, employment, marital status, or child or spousal support payments.

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9.2 Personal Injury, Workers Compensation, Buyout, Severance Package, Lottery Winning, Inheritance,
or Any Other Amount
The Debtor shall keep the Trustee informed as to any claim for or expected receipt of money or property regarding personal injury,
workers compensation, buyout, severance package, lottery winning, inheritance, or any other funds to which the Debtor may be
entitled or becomes entitled to receive. Before the matter can be settled and any funds distributed, the Debtor shall comply with all
requirements for filing applications or motions for settlement with the Court as may be required by the Bankruptcy Code, the
Bankruptcy Rules or the Local Bankruptcy Rules. Unless otherwise ordered by the Court, these funds shall be distributed by the
Trustee for the benefit of creditors.

9.3 Social Security
The Debtor shall keep the Trustee informed as to any claim for or expected receipt of social security funds.

10. INSURANCE
10.1 Insurance Information
As of the petition date, the Debtor’s real and personal property is insured as follows.
 Property Address/           Insurance Company          Policy Number               Full/Liability             Agent Name/ Contact
 Description                                                                                                   Information
 355 McKell Chillicothe, State Farm                                  35-L6-7914-1        Full                  Megan Carroll, 1575 N.
 OH 45601 Ross County                                                                                          Bridge Street, #B,
                                                                                                               Chillicothe, OH
                                                                                                               45601-4103,
                                                                                                               740-775-6634
 2017 Jeep Wrangler                       State Farm                 054 8172-E02-35J    Full                  Megan Carroll, 1575 N.
                                                                                                               Bridge Street, #B,
                                                                                                               Chillicothe, OH
                                                                                                               45601-4103,
                                                                                                               740-775-6634

10.2 Casualty Loss Insurance Proceeds (Substitution of Collateral)
If a motor vehicle is deemed to be a total loss while there is still an unpaid claim secured by the motor vehicle, the Debtor shall have
the option to use the insurance proceeds to either (1) pay off the balance of the secured claim through the Trustee if the secured
creditor is a named loss payee on the policy or (2) upon order of the Court, substitute the collateral by purchasing a replacement motor
vehicle. If a replacement motor vehicle is purchased, the motor vehicle shall have a value of not less than the balance of the unpaid
secured claim, the Debtor shall ensure that the lien of the creditor is transferred to the replacement motor vehicle, and the Trustee shall
continue to pay the allowed secured claim. Unless otherwise ordered by the Court, if any insurance proceeds remain after paying the
secured creditor’s claim, these funds shall be distributed by the Trustee for the benefit of creditors.

11. EFFECTIVE DATE OF THE PLAN
The effective date of the Plan is the date on which the order confirming the Plan is entered.

12. VESTING OF PROPERTY OF THE ESTATE
Unless checked below, property of the estate does not vest in the Debtor until the discharge is entered. The Debtor shall remain
responsible for the preservation and protection of all property of the estate.
   Confirmation of the Plan vests all property of the estate in the Debtor in accordance with §§ 1327(b)

    Other

13. NONSTANDARD PROVISIONS
The nonstandard provisions listed below are restricted to those items applicable to the particular circumstances of the Debtor.
Nonstandard provisions shall not contain a restatement of the Bankruptcy Code, the Bankruptcy Rules, the Local Bankruptcy Rules or
the Mandatory Chapter 13 Form Plan. Any nonstandard provision placed elsewhere in this Plan is void and shall have no binding
effect.
 Nonstandard Provisions
 Debtor shall make plan payments in the amount set forth in this Plan for no less than the 36 month applicable
 commitment period. The dividend to be paid to unsecured creditors shall be no less than the dividend set forth on
 page one of the plan.


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By filing this Plan, the Debtor, if unrepresented by an attorney, or the Debtor’s Attorney certifies that (1) the wording and order of
provisions of this Plan are identical to those contained in the Mandatory Form Chapter 13 Plan adopted in this District and (2) this
Plan contains no nonstandard provisions other than those set forth in Paragraph 13.

  Debtor's Attorney
  /s/ Karrie Mae Southern
  Karrie Mae Southern 0090717
  Date: September 25, 2019

 Debtor                                                                      Joint Debtor
 /s/ Lynn R Miner
 Lynn R Miner
 Date:      September 25, 2019                                               Date:




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1
                            NOTICE OF DEADLINE FOR OBJECTING TO PLAN CONFIRMATION

           Debtor has filed a Chapter 13 Plan or an Amended Chapter 13 Plan (collectively, the “Plan”).

          Your rights may be affected. You should read the Plan carefully and discuss it with your attorney, if you have one in this
     bankruptcy case. If you do not have an attorney, you may wish to consult one.

          If you do not want the Court to confirm the Plan, you must file an objection to the Plan within the later of: 1) fourteen (14)
    days after the § 341 meeting of creditors is concluded; OR 2) twenty-one (21) days from the date set forth in the certificate of
    service of this Plan. If a timely objection to the Plan is filed within seven (7) days of the confirmation hearing date, the
    confirmation hearing will be rescheduled. Rule 3015(f).

         Your objection to the Plan, explaining your position, must be filed with the Court and mailed by ordinary U.S. Mail to the
    United States Bankruptcy Court.
                                             170 North High Street, Columbus OH 43215

    OR your attorney must file the objection using the Court’s ECF System.

                            The Court must receive your objection on or before the applicable deadline above.

    You must also send a copy of your objection either by 1) the Court’s ECF System or by 2) ordinary
    U.S. Mail to:


    Lynn R Miner
    355 McKell Rd.
    Chillicothe, OH 45601

    Karrie Mae Southern
    Karrie Mae Southern Law Office
    253 S. Paint St., Ste. E
    Chillicothe, OH 45601-3832

    Faye D. English
    Chapter 13 Trustee
    10 West Broad Street, Suite 900
    Columbus, OH 43215

    U.S. Trustee
    170 North High Street, Suite 200
    Columbus, OH 43215



          If you or your attorney does not take these steps, the Court may decide that you do not oppose the terms of the Plan and may
    enter an order confirming the Plan without further hearing or notice.
1
                                             CERTIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing Plan was served (i) electronically on the date of filing through the
Court’s ECF System on all ECF participants registered in this case at the email address registered with the Court and (ii)
by ordinary U.S. Mail on September 26, 2019 addressed to:

Faye D. English, Chapter 13 Trustee (served via ECF mail)

Asst. U.S. Trustee, Columbus Office (served via ECF mail)

Lynn R Miner, 355 McKell Rd., Chillicothe, OH 45601

All parties in interest listed on the attached index that were not served electronically via ECF mail

And (iii) by method of service as required by Bankruptcy Rule 7004 on September 26, 2019

        Regular US Mail addressed to an officer of the corporation:

Dennis M Contic, Jr., CAO
Lendmark Financial Services, LLC
2118 Usher St NW
Covington, GA 30014-2434
                                                                /s/Karrie Mae Southern
                                                                Karrie Mae Southern, #0090717
                                                                Karrie Mae Southern Law Office, LLC
                                                                253 South Paint Street, Suite E
                                                                Chillicothe, Ohio 45601-3832
                                                                Ph: (740) 851-5997
                                                                ecf@caresmail.com
Label Matrix for local noticing                      Adena Health Systems                                 Asst US Trustee (Col)
0648-2                                               110 Vaughn Lane                                      Office of the US Trustee
Case 2:19-bk-56108                                   Chillicothe, OH 45601-8621                           170 North High Street
Southern District of Ohio                                                                                 Suite 200
Columbus                                                                                                  Columbus, OH 43215-2417
Thu Sep 26 11:36:53 EDT 2019
Capital One Auto Finance                             Cash Max                                             Chase Card Services
Attn: Bankruptcy                                     860 N Bridge St                                      Attn: Bankruptcy
Po Box 30285                                         Chillicothe, OH 45601-1702                           Po Box 15298
Salt Lake City, UT 84130-0285                                                                             Wilmington, DE 19850-5298


Citibank                                             Columbus Radiology                                   Faye D. English
Attn: Recovery/Centralized Bankruptcy                PO Box 714563                                        Chapter 13 Trustee
Po Box 790034                                        Cincinnati, OH 45271-4563                            10 West Broad Street
St Louis, MO 63179-0034                                                                                   Suite 1600
                                                                                                          Columbus, OH 43215-3419

Homeland Credit Union, Inc                           INTERNAL REVENUE SERVICE                             Lendmark Financial Services
310 Caldwell Street                                  PO Box 7346                                          1735 North Brown Road
Chillicothe, OH 45601-3331                           Philadelphia, PA 19101-7346                          Suite 300
                                                                                                          Lawrenceville, GA 30043-8228


Lynn R Miner                                         Mount Carmel East                                    Mount Carmel Medical Group
355 McKell Rd.                                       PO Box 89458                                         Attn: 19019Y
Chillicothe, OH 45601-1535                           Cleveland, OH 44101-6458                             PO Box 14000
                                                                                                          Belfast, ME 04915-4033


OneMain Financial                                    PRA Receivables Management, LLC                      Ross Emergency Group
Attn: Bankruptcy                                     PO Box 41021                                         PO Box 731584
Po Box 3251                                          Norfolk, VA 23541-1021                               Dallas, TX 75373-1584
Evansville, IN 47731-3251


Karrie Mae Southern                                  Synchrony Bank                                       Wells Fargo Bank
Karrie Mae Southern Law Office, LLC                  c/o PRA Receivables Management, LLC                  Mac F823f-02f
253 South Paint Street                               PO Box 41021                                         Po Box 10438
Suite E                                              Norfolk, VA 23541-1021                               Des Moines, IA 50306-0438
Chillicothe, OH 45601-3832

Wells Fargo Home Mor
Attn: Written Correspondence/Bankruptcy
Mac#2302-04e Pob 10335
Des Moines, IA 50306




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(d)Synchrony Bank                                    End of Label Matrix
c/o PRA Receivables Management, LLC                  Mailable recipients    21
PO Box 41021                                         Bypassed recipients     1
Norfolk, VA 23541-1021                               Total                  22
